                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA

v.                                                        Case No.: 3:21−mj−02228−HBG

JOHN DAVID MORROW


                                DUE PROCESS PROTECTIONS ACT ORDER

     Pursuant to the Due Process Protections Act, the Court confirms the United States' obligation to

produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963)

and its progeny, and orders it to do so. Failing to do so in a timely manner may result in consequences,

including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, or sanctions by the Court.




ENTER.

                                               s/ H Bruce Guyton
                                               UNITED STATES MAGISTRATE JUDGE




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